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Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 2 of 11

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL,

Plaintiff
NOTICE FOR DEPOSITION
vs.
CITY OF JAMESTOWN, et al., INDEX NO.: 21-CV-00721
Defendants.

SIRS:

PLEASE TAKE NOTICE, that pursuant to CPLR Article 31, the
deposition upon oral examination of JAMESTOWN POLICE OFFICER OBERGFELL
will be taken by a notary public who is not an attorney or employee of
an attorney, for any party or prospective party herein and is not a
person who would be disqualified to act as a juror because of interest
or because of blood relationship, kinship or close agreement to any
party herein by ZOOM on August 16, 2023 at 10:00 a.m., and at such other
place and time to which the examination may be adjourned.

PLEASE TAKE FURTHER NOTICE, that Deponent is required to
produce at the examination all books, papers, documents and other things
in their possession, custody or control which relate to the matter upon

which he or she will testify and mark as exhibits, and otherwise use at

the examination.

Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 3of11

DATED: August 8, 2023
Hamburg, New York

SHAW & SHAW, P.C.

sf

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(716) 648-3020

TO: Mary L. D’ Agostino
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| Syracuse, New York 13202

Elliot Raimondo
Corporation Counsel
City of Jamestown
Attorneys for Defendants
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Jamestown, NY 14701

Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 4of11

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL,

Plaintiff
NOTICE FOR DEPOSITION
vs.
CITY OF JAMESTOWN, et al., INDEX NO.: 21-CV-00721
Defendants.

SIRS:

PLEASE TAKE NOTICE, that pursuant to CPLR Article 31, the
deposition upon oral examination of JAMESTOWN POLICE OFFICER CONKLIN
will be taken by a notary public who is not an attorney or employee of
an attorney, for any party or prospective party herein and is not a
person who would be disqualified to act as a juror because of interest
or because of blood relationship, kinship or close agreement to any
party herein by ZOOM on August 16, 2023 at 1:00 p.m., and at such other
place and time to which the examination may be adjourned.

PLEASE TAKE FURTHER NOTICE, that Deponent is required to
produce at the examination all books, papers, documents and other things
in their possession, custody or control which relate to the matter upon

which he or she will testify and mark as exhibits, and otherwise use at

the examination.

Case 1:21-cv-00721-MAV-JJM Document 38-2

DATED: August 8, 2023
Hamburg, New York
TO: Mary L. D’ Agostino
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Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 6 of 11

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL,

Plaintiff
NOTICE FOR DEPOSITION
vs.
CITY OF JAMESTOWN, et al., INDEX NO.: 21-CV-00721
Defendants.

SIRS:

PLEASE TAKE NOTICE, that pursuant to CPLR Article 31, the
deposition upon oral examination of JAMESTOWN POLICE OFFICER KEVIN WISE
will be taken by a notary public who is not an attorney or employee of
an attorney, for any party or prospective party herein and is not a
person who would be disqualified to act as a juror because of interest
or because of blood relationship, kinship or close agreement to any
party herein by ZOOM on August 16, 2023 at 3:00 p.m., and at such other
place and time to which the examination may be adjourned.

PLEASE TAKE FURTHER NOTICE, that Deponent is required to
produce at the examination all books, papers, documents and other things
in their possession, custody or control which relate to the matter upon

which he or she will testify and mark as exhibits, and otherwise use at

the examination.

Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 7 of 11

DATED: August 8, 2023

TO:

Hamburg, New York

Mary L. D’ Agostino
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Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 8 of 11

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL,

Plaintiff
NOTICE FOR DEPOSITION
vs.
CITY OF JAMESTOWN, et al., INDEX NO.: 21-CV-00721
Defendants.

STRS:

PLEASE TAKE NOTICE, that pursuant to CPLR Article 31, the
deposition upon oral examination of JAMESTOWN POLICE OFFICER CONTI will
be taken by a notary public who is not an attorney or employee of an
attorney, for any party or prospective party herein and is not a person
who would be disqualified to act as a juror because of interest or
because of blood relationship, kinship or close agreement to any party
herein by ZOOM on a date and time to be determined, and at such other
place and time to which the examination may be adjourned.

PLEASE TAKE FURTHER NOTICE, that Deponent is required to
produce at the examination all books, papers, documents and other things
in their possession, custody or control which relate to the matter upon

which he or she will testify and mark as exhibits, and otherwise use at

the examination.

Case 1:21-cv-00721-MAV-JJM Document 38-2

TO:

DATED: August 8, 2023

Hamburg, New York

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Case 1:21-cv-00721-MAV-JJM Document 38-2 Filed 09/19/23 Page 10 of11

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL,

Plaintiff
NOTICE FOR DEPOSITION
vs.
CITY OF JAMESTOWN, et al., INDEX NO.: 21-CV-00721
Defendants.

SIRS:

PLEASE TAKE NOTICE, that pursuant to CPLR Article 31, the
deposition upon oral examination of JAMESTOWN POLICE OFFICER DANIEL
OVEREND will be taken by a notary public who is not an attorney or
employee of an attorney, for any party or prospective party herein and
is not a person who would be disqualified to act as a juror because of
interest or because of blood relationship, kinship or close agreement
to any party herein by ZOOM on a date and time to be determined, and at
such other place and time to which the examination may be adjourned.

PLEASE TAKE FURTHER NOTICE, that Deponent is required to
produce at the examination all books, papers, documents and other things
in their possession, custody or control which relate to the matter upon

which he or she will testify and mark as exhibits, and otherwise use at

the examination.

Case 1:21-cv-00721-MAV-JJM Document 38-2

DATED: August 8, 2023

Hamburg, New York

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Filed 09/19/23. Page 11of11

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